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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MARYLAND

                                                 *
 UNITED STATES OF AMERICA                        *
                                                 *     CASE NO. 20-cr-14-PX
        v.                                       *
                                                 *
 HANA KHIDIR ABDALLA,                            *
                                                 *
                  Defendant                      *
                                                 *
                                              ********

                     CONSENT MOTION FOR PROTECTIVE ORDER

       The government—with the consent of counsel for the defendant—moves for a discovery

protective order. In support of the government’s motion, the government states the following.

       1.       On January 13, 2020, a Grand Jury in the District of Maryland returned a two-count

indictment charging the defendant with one count of destruction, alteration, and falsification of

records in a federal investigation (18 U.S.C. § 1519) and one count of aiding and abetting (18

U.S.C. § 2). The defendant had an initial appearance on August 1, 2022.

       2.       The government is in the process of preparing discovery and intends to begin

producing discovery to counsel for the defendant shortly.          During the investigation, the

government obtained voluminous records that the government wishes to provide to the defendant

and her counsel. Discovery consists of thousands of pages of, among other things, bank records,

account statements, and other financial materials. These documents contain, among other things,

sensitive and personal identifying information of individuals other than the defendant.

       3.       Pursuant to United States Attorney’s Office policy, in the absence of a Protective

Order, personal identifiers must be redacted from discovery before being produced to the defense.

Because discovery in this case is voluminous, redacting every document in discovery will be time
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consuming and will significantly delay the discovery process.

       4.      To allow the government to produce discovery in unredacted form, the government

and the defendant requests that this Court enter a Protective Order under Federal Rule of Criminal

Procedure 16(d)(1). A proposed Protective Order is attached. This Protective Order will protect

the privacy interests of individuals whose personal identifiers are in discovery without burdening

the defendant in the preparation of the defense.


                                                       Respectfully submitted,

                                                       Erek L. Barron
                                                       United States Attorney

                                                               /s/
                                                       Caitlin R. Cottingham
                                                       Joel Crespo
                                                       Assistant United States Attorneys




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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MARYLAND

                                             *
 UNITED STATES OF AMERICA                    *
                                             *      CASE NO. 20-cr-14-PX
     v.                                      *
                                             *
 HANA KHIDIR ABDALLA,                        *
                                             *
             Defendant                       *
                                             *
                                        ********
    This matter comes before the Court on the parties’ Consent Motion for a Protective Order

Pursuant to Federal Rule of Criminal Procedure 16(d)(1). The government’s motion for a

protective order is hereby GRANTED and it is ORDERED as follows:

       1.      Applicability.

               (A)     Covered Discovery Material. This Protective Order applies to all items,

documents and information (“discovery material”) that the government produces to any defense

counsel in relation to the above-captioned case. The Order therefore applies whether the discovery

material is produced in accordance with the parties’ discovery agreement, the Federal Rules of

Criminal Procedure, the Jencks Act (18 U.S.C. ' 3500), or applicable Constitutional requirements

such as Brady v. Maryland, 373 U.S. 83 (1963), and Giglio v. United States, 405 U.S. 150 (1972).

The Order applies equally to discovery material that might not be strictly discoverable by the above

agreement and requirements, but which the government produces for the convenience of or at the

request of one or more defendants.

               (B)     Covered Persons. This Protective Order applies to all defense counsel, their

associates, paralegals, and assistants (collectively “defense counsel”) in or related to the above-

captioned case. This Protective Order further applies to any person who obtains discovery material

from defense counsel, whether pursuant to paragraph 3 or otherwise.

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       2.      Prohibitions. The following prohibitions apply except as noted in paragraph 3.

               (A)     No Further Dissemination of Discovery Material. Defense counsel are

prohibited from disseminating any tangible discovery material, whether in written, electronic, or

any other form, to anyone.

               (B)     No Communication of Personal Identifiers. Defense counsel are prohibited

from communicating to anyone any “personal identifiers” that counsel have obtained through the

discovery material. The term “personal identifiers” includes names of minors, dates of birth, social

security numbers, taxpayer identification numbers, home street addresses, telephone numbers,

financial account numbers, passport numbers, and any other identifier that may improperly

disclose private or sensitive information. This prohibition applies to all personal identifiers in the

discovery materials, whether they pertain to a defendant or another real or fictitious person.

               (C)     No Communication of Witness Location Information. Defense counsel are

prohibited from revealing, by any means, witness location information and information that could

reasonably lead to the discovery of a witness’s location, to anyone, including any client, other

defendant, or any third person.

       3.      Exceptions Where Discovery Material May be Disseminated. All recipients of

discovery material are bound by this Protective Order and subject to the same prohibitions as apply

to defense counsel. Such recipients may not further disseminate any discovery material except as

set forth below.

               (A)     Co-Counsel and Employees. Defense counsel may provide discovery

material, may communicate personal identifiers, and may reveal witness location information to

their employees (associates, paralegals, and assistants) and their co-defense counsel, where

(1) such provision is necessary to the representation of the defendant, and (2) such recipients are



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provided with this Protective Order.

               (B)     Investigators and Experts. Defense counsel may provide discovery material,

may communicate personal identifiers, and may reveal witness location information to designated

investigators and designated expert witnesses, only to the extent that (1) such provision is

necessary to the representation of the defendant, and (2) such recipients are provided with this

Protective Order and instructed that they are bound by its terms.     Defense counsel shall retain a

list of individuals who have received copies of discovery material.

               (C)     Use in the Course of Defense. Defense counsel and those who are

authorized to receive discovery materials by paragraphs 3(A) and (B) may further use such

materials in the course of their defense, as follows:

                       (i)      Review by Defendant. The defendant may review the discovery

materials, but may not be provided with any copies thereof, nor may the defendant keep any

portions of the materials, without defense counsel first following the procedures set forth in

Standing Order 2020-01. The defendant may make and keep notes except that such notes may not

contain any personal identifiers or witness location information.

                       (ii)     Filing with the Court. Defense counsel may file discovery material

with the Court as provided by Federal Rule of Crim. P. 49.1, except defense counsel may not rely

upon the exemption from redaction set forth in paragraph 49.1(b)(7).

                       (iii)    Fact Witness Interviews. Discovery materials may be shown to fact

witnesses during pretrial interviews and preparation, to the extent necessary for defense of the

case, but such witnesses may not be provided with any copies thereof, nor may they keep any notes

or portions of the materials.




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      Defense counsel and any other recipients of discovery materials who are not employees of

      defense counsel’s firm must be provided a copy of this Protective Order and be advised

      that they are bound by its terms. Defense counsel shall retain a list of all such individuals

      outside of the Federal Public Defender’s Office for the District of Maryland, or the law

      offices of Wiley Rein LLP who receive copies of any discovery materials covered by the

      Protective Order.



__________________                          ____________________________________
Date                                        HONORABLE PAULA XINIS
                                            UNITED STATES DISTRICT JUDGE




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